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UNI'I`ED STATES I)ISTRICT C()URT
FOR THE DISTRICT OF COLUMBIA

 

CRYSTAL GUY
Plaintiff
v. : Civil Action No. 14cv165
Judge Colleen Kollar-Kotelly
CENTRAL CREDIT SERVICES, INC.;
and DOES l through 10, inclusive,

Defendant

 

ORDER

On March 24, 2014, the Court received notice from counsel for plaintiff that the parties
have reached a settlement in principie, [10] Nolice ofSelllemem.

Accordingly, it is this §§ day of March 2014,

ORDERED that this case is DISMISSED. The dismissal shall be without prejudice for
a period of M days [until May 5, 2014] from the date of this Order. Should counsel fail to
move to extend or to reopen the case within the prescribed period, the matter shall, Without

further order, stand dismissed With I;)rejudicel

drs lmra war

JUDGE CoLLEEN KoLLAR-KOTELLY
United States District ludge

